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                         IN THE UNITED STATES DISTRICT COURT
 8
                                  DISTRICT OF ARIZONA
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10                                                    No. CR-20-00634-PHX-DWL
11   United States of America,                    MOTION TO CONTINUE TRIAL
                                                            AND
12                 Plaintiff,                     MOTION TO EXTEND TIME TO
                                                   FILE PRETRIAL MOTIONS
13         vs.
                                                         (Defendant in Custody)
14   Jill Marie Jones,
                                                            (Eleventh Request)
15                 Defendant.
                                                      Trial set for September 7, 2022
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           Defendant Jill Marie Jones, through undersigned counsel, respectfully
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     requests the Court set this matter for a firm trial date on April 11, 2023 and extend
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     the time to file pretrial motions. The ends of justice are served by granting this
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     continuance request, as explained below.
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           On July 5, 2021, the parties appeared for a status conference before the
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     Court. Counsel for Ms. Jones requested additional time to prepare for trial and
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     further requested the Court set this matter for trial in 6-8 months. The Court
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     indicated its inclination to grant the request, including setting a firm trial date of

26   April 11, 2023, upon the filing of a motion setting forth in detail the basis for the
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 1   request. By minute order, the Court ordered the motion filed by July 8 at Noon.
 2   (Dkt. 98).
 3         The requested continuance is warranted in this matter for several reasons:
 4         First, a change in counsel approximately one year after Ms. Jones’s arrest
 5   led to delays in investigation and trial preparation. Undersigned counsel was
 6   appointed to represent Ms. Jones in July 2021—approximately one year ago.
 7   However, by that time, five trial continuances had already been sought
 8   (undersigned counsel filed the sixth request shortly after his appointment). But, at
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     the time of appointment, the defense case was still in a very preliminary stage. Over
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     the course of the past year, counsel has made diligent progress investigating and
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     otherwise preparing this complex case for resolution. Indeed, counsel anticipates
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     the case can be resolved within six to eight months. But the change in counsel
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     nevertheless contributed to the current need for additional time.
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           Second, outside factors have slowed counsel’s otherwise diligent progress in
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     investigation and trial preparation. The ongoing pandemic has contributed to delays
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     in all aspects of case investigation and trial preparation—including delays in client

18   meetings, expert evaluations, and investigation. Further, undersigned counsel has

19   been on paternity leave for portions of the past year, including from May to August
20   2022. Although counsel is continuing to work on some matters while on leave—
21   including Ms. Jones’s case—counsel expects progress during this time to be
22   slower.
23         Third, this matter is complex and the charges against Ms. Jones are serious.
24   Extended investigation and trial preparation in cases, like Ms. Jones’s, is common.
25   For example, a pending case involving similar allegations in Tucson is nearly a
26   year older than Ms. Jones’s and is not scheduled for trial until January 2023. See
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 1   United States v. Mohamed, 19-cr-02162-JGZ (D. Az.). Further, Ms. Jones’s case
 2   involves alleged activity that was almost entirely online. As a result, there is a
 3   voluminous data to review, which again requires considerable time and attention.
 4         Fourth, counsel believes the Court’s intervention will be necessary to resolve
 5   certain outstanding discovery disputes and other pretrial motions. Briefing,
 6   hearings, and resolution of those matters will require additional time, including
 7   time to adjust case-strategy based on the Court’s rulings. The current trial schedule
 8   would not provide adequate time for the comprehensive resolution of these issues.
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           For all these reasons, Ms. Jones respectfully asks that the motion be granted
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 2         Excludable delay under 18 U.S.C. § 3161(h)(7)(B)(i) and (iv) may result
 3   from this motion or from an order based thereon.
 4         Respectfully submitted: July 7, 2022
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                                    JON M. SANDS
 6                                  Federal Public Defender
 7
                                    s/Mark Rumold
 8                                  MARK RUMOLD
 9                                  Asst. Federal Public Defender
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